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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

Joseph Dudas,

       Plaintiff,                                 Case No. 2:20-cv-6008


                                                  Judge Michael H. Watson

Spinnaker Resorts, Inc.,                          Magistrate Judge Vascura

       Defendant.



                                     ORDER


       Defendant's motion to stay, EOF No. 15, is GRANTED. All deadlines

associated with this case are STAYED until the Court resolves Defendant's

 motion to dismiss, EOF No. 8. Accordingly, the pretrial conference scheduled for

 March 2, 2021, before Magistrate Judge Vascura is VACATED.

       IT IS SO ORDERED.




                                      MICHAEL H. W/VrSON, JUDGE
                                      UNITED STATES DISTRICT COURT
